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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    ROCHELLE GARZA, as guardian ad litem to )
    unaccompanied minor J.D., on behalf of         )
    herself and others similarly situated, et al., )
                                                   )      No. 17-cv-02122-TSC
                           Plaintiffs,             )
     v.                                            )
                                                   )
    ERIC D. HARGAN, et al.,                        )
                                                   )
                           Defendants.             )


     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ “RESPONSE TO COURT ORDER”

          Earlier today, the Court ordered as follows: “By 5:00 pm the Defendants shall file a

redacted version of the Sealed ORR Decision [72].”

          At 5:15, the Defendants instead filed a “Response to Court Order,” arguing why they

should not be required to obey the Court’s order.

          Defendants claim the ORR decision is no longer relevant, but it is in fact highly relevant

to the ORR policy that is at issue in this case.

          Defendants claim that “Parts of the document are predecisional and deliberative,” but the

document is in fact the record of a decision that has already been made, and of the decision-

maker’s reasons for the decision.

          Finally, however, Defendants concede that “the court can file the document on the public

record with the redactions made by Plaintiff without disclosing personal privacy information

relating to Ms. Poe.”

          Plaintiffs urge the Court to do that forthwith, or alternatively to grant Plaintiffs’ pending

motion for leave to do that themselves (ECF No. 77).

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Date: December 19, 2017            Respectfully submitted,

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